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                                                                   King & Spalding LLP
KING            &     SPALDING                                     633 West Fifth Street
                                                                   Suite 1600
                                                                   Los Angeles, CA 90071
                                                                   Tel: +1 213 443 4355
                                                                   Fax: +1 213 443 4310
                                                                   www.kslaw.com

                                                                   Michael D. Roth
                                                                   Partner
                                                                   Direct Dial: +1 213 218 4014
                                                                   Direct Fax: +1 213 443 4310
                                                                   mroth@kslaw.com

July 30, 2021

VIA ECF

 The Honorable Loretta A. Preska
 United States District Court Judge
 United States Courthouse
 500 Pearl Street, Room 2220
 New York, NY 10007

       Re:      CFPB, et al. v. RD Legal Funding, LLC, et al., Case No. 17-cv-890

Dear Judge Preska,

        The July 23, 2021 letter submitted by the Consumer Financial Protection Bureau relies on
an out-of-context portion of Collins v. Yellen, 141 S. Ct. 1761 (2021), and the partial concurrence
by Justice Kagan, to argue that RD Legal must show that but-for the separation-of-powers
violation that infected the Bureau’s structure when this action was filed, the Bureau would have
acted differently. (See ECF No. 155 at 2.) Not so.
        As RD Legal previously explained, Collins confronted a very different situation than the
one here, in which (a) the challenged action was not taken by unconstitutionally insulated
directors, but simply overseen by them; and (b) the challenge was brought not by private party
defendants subject to an unconstitutional enforcement action, but by plaintiff shareholders in
government-sponsored entities seeking to unwind government contracts and disgorge hundreds
of millions of dollars. (See ECF No. 154 at 1-3.) In the context of that very different suit,
Collins expressly laid out two non-exclusive examples where an unconstitutional removal
provision, like the one here, “would clearly cause harm”:
                Suppose, for example, that the President had attempted to remove a
                Director but was prevented from doing so by a lower court decision
                holding that he did not have “cause” for removal. Or suppose that
                the President had made a public statement expressing displeasure
                with actions taken by a Director and had asserted that he would
                remove the Director if the statute did not stand in the way. In those
                situations, the statutory provision would clearly cause harm.
Collins, 141 S. Ct. at 1789 (emphasis added). Collins never mentioned, let alone required, a but-
for test. Instead, Collins’s non-exhaustive “example[s]” of “clear[]” constitutional injuries
include demonstrating only that the President desired to fire the Director—but could not do so—
as a general matter. Id.
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       Indeed, the Supreme Court has made clear that litigants are “not required to prove that the
Government’s course of conduct would have been different in a ‘counterfactual world,’” Seila
Law v. CFPB, 140 S. Ct. 2183, 2196 (2020) (emphasis added) (quoting Free Enter. Fund v. Pub.
Co. Accounting Oversight Bd., 561 U.S. 477, 512 n.12 (2010)), and this Court should reject the
Bureau’s invitation to disturb that basic separation-of-powers principle by adopting its position
that RD Legal is somehow required to show how this specific case would have come out had the
President been able to remove then-Director Richard Cordray at will.
        In support of its proposed but-for test, the CFPB relies on (a) the Supreme Court’s
description of a party’s argument (ECF No. 155 at 2 (quoting Collins, 141 S. Ct. at 1789
(majority op.)), and (b) Justice Kagan’s statement in her partial concurrence that “plaintiffs
alleging a removal violation are entitled to injunctive relief—a rewinding of agency action—only
when the President’s inability to fire an agency head affect the complained-of decision.” (Id.
(quoting Collins, 141 S. Ct. at 1801 (Kagan, J., concurring in part)).) But neither of these
statements was adopted by the Collins majority, which held that the requisite constitutional harm
could be established in a case like this one by showing that President Trump desired to fire
Director Cordray but was hindered from doing so by the for-cause removal provision. Collins,
141 S. Ct. at 1789.
        RD Legal has done that: this case was filed on February 7, 2017, under the watch of
then-Director Cordray, when President Trump wanted to, but could not fire Cordray because of
the for-cause removal provision. (ECF No. 154 at 4-5.) Where, as here, a party “raise[s] [a]
constitutional challenge as a defense to an enforcement action,” there is “no theory that would
permit [a court] to declare the [agency’s] structure unconstitutional without providing relief to
[the regulated party].” FEC v. NRA Political Victory Fund, 6 F.3d 821, 828 (D.C. Cir. 1993).
Indeed, Seila Law even recognized that “dismiss[al]” is the “straightforward remedy” for the
undisputed “constitutional defect” in the filing of the action. Seila Law, 140 S. Ct. at 2208
(plurality op.); id. at 2220 (Thomas, J., concurring in part and dissenting in part). That is why
the CFPB has argued for years that even if there was a separation of powers violation—and Seila
Law conclusively determined there was such a violation—ratification could insulate the CFPB
against any actual consequences (and preclude any actual relief for RD Legal and others), even
though its ratification efforts here were patently too late and inadequate. 1

                                                     Sincerely,


                                                     Michael D. Roth
                                                     Partner
cc:   Counsel of Record


1
  To the extent the CFPB is now trying to resurrect the defective attempted ratification that
occurred by a subordinate employee during acting-Director Mulvaney’s tenure (ECF No. 155 at
2 n.2), that attempted ratification is not before this Court. But even if it were, the CFPB has not
and cannot show that it was a proper ratification of any agency action. Should the Court be
inclined to address any attempt by the CFPB to ratify this enforcement action other than Director
Kraninger’s (which was the only ratification this Court was directed to address in the Second
Circuit’s mandate), RD Legal respectfully requests that separate briefing be ordered directed at
those issues.
